

People v Nieves (2019 NY Slip Op 08101)





People v Nieves


2019 NY Slip Op 08101


Decided on November 8, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 8, 2019

PRESENT: WHALEN, P.J., CARNI, DEJOSEPH, AND TROUTMAN, JJ. (Filed Nov. 8, 2019.) 


MOTION NO. (130/99) KA 98-00738.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJULIO NIEVES, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for reargument denied.








